                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                               Civil Action No.: 1:24-cv-01468
        Plaintiffs,
                                                               Judge Franklin U. Valderrama
v.
                                                              Magistrate Judge Maria Valdez
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.
                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on May 14, 2024 [33] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                  DEFENDANT
                55                                  Mulberry Eagle
                78                                   An interesting
                89                                       LENE


        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
            26 2024
DATED: July _,                                     Respectfully submitted,



                                                   Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                   ATTORNEY FOR PLAINTIFF(S)




                                                         26 July, 2024.
Subscribed and sworn before me by Keith A. Vogt, on this _of

Given under by hand and notarial seal.




                                            STATE OF __      !_I_/
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                                            COUNTY OF --=-----------


                                                             GRISELDA DELGADO
                                                               OFFICIAL SEAL
                                                • N.otary Public, State of Illinois
                                                            My Commission Expires
                                                               October 05, 2026
